






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00743-CR







Jack Patton, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF LLANO COUNTY, 33RD JUDICIAL DISTRICT


NO. CR 5320, HONORABLE V. MURRAY JORDAN, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Jack Patton seeks to appeal from a judgment of conviction for official misconduct. 
Sentence was imposed on August 28, 2003.  There was a timely motion for new trial.  The deadline
for perfecting appeal was therefore November 26, 2003.  Tex. R. App. P. 26.2(a)(2).  Notice of
appeal was filed on December 8, 2003.  No extension of time for filing notice of appeal was
requested, as required in criminal cases.  Tex. R. App. P. 26.3; see Slaton v. State, 981 S.W.2d 208
(Tex. Crim. App. 1998); Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim. App. 1996); Pickens
v. State, 105 S.W.3d 746, 748 n.2 (Tex. App.--Austin 2003, no pet.).  Under the circumstances, we
lack jurisdiction to dispose of the purported appeal in any manner other than by dismissing it for
want of jurisdiction. 


The appeal is dismissed.



				__________________________________________

				Bob Pemberton, Justice

Before Justices Kidd, Puryear and Pemberton

Dismissed for Want of Jurisdiction

Filed:   January 23, 2004

Do Not Publish


